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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 JOHN GARBER,

       Plaintiff,
                                                 Hon. Phillip J. Green
 v.
                                                 Case No. 1:16-cv-00455-PJG
 MITCHELL DEISCH, et al.,

       Defendants,
 ________________________________/

                                       OPINION

      Plaintiff John Garber filed this lawsuit claiming that the defendants conspired

to have him wrongfully prosecuted for embezzlement, resulting in his early

retirement as the City of Manistee’s Director of Public Works and his election loss in

the city council election. His complaint raises three federal claims: conspiracy to

deprive him of his “free expression” right to run for public office, contrary to 42 U.S.C.

§ 1985 (Count I); violation of his First Amendment right to be a candidate for public

office (Count II), contrary to 42 U.S.C. § 1983; and violation of his Fourth Amendment

rights by conspiring to instigate an investigation and prosecution for embezzlement

that lacked probable cause, contrary to 42 U.S.C. § 1983 (Count III). Plaintiff also

brings four supplemental state claims:       civil conspiracy to have him wrongfully

arrested and to prevent his election to public office (Count IV); malicious prosecution

(Count V); abuse of process (Count VI); and intentional infliction of emotional distress

(Count VII).
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      Defendants City of Manistee, City Manager Mitchell Deisch, Public Safety

Director (Police Chief) David Bachman, Finance Director (City Treasurer) Edward

Bradford, and Utilities Director Jeffrey Mikula (collectively “City Defendants”) have

moved for summary judgment on all claims. (ECF No. 42). Plaintiff has responded

(ECF No. 57), and City Defendants have replied. (ECF No. 60).

      Defendant Paul R. Spaniola, the elected Mason County Prosecutor, separately

seeks summary judgment as to the counts against him. (ECF No. 46). Plaintiff has

responded (ECF No. 58), and Defendant Spaniola has replied (ECF No. 59).

      Plaintiff has moved to amend his complaint “to clarify the issues associated

with Defendant Spaniola’s involvement in this litigation.” (ECF No. 35, PageID.261).

For purposes of the pending motions for summary judgment, the Court is considering

all the allegations in the proposed amended complaint. (See Proposed First Amended

Complaint, ECF No. 35, PageID.263-86).

      The Court conducted oral argument on all the motions. (ECF No. 69). For the

reasons stated herein, each of the motions for summary judgment (ECF No. 42, 46)

will be granted. As the Court has determined that nothing in the proposed amended

complaint would alter the outcome here, plaintiff’s motion to amend the complaint

(ECF No. 35) will be denied as futile.

                                 Factual Findings

      The following facts are beyond genuine issue.

      Plaintiff worked for the City of Manistee, Michigan, as a full-time employee

from 1971 to his retirement on April 1, 2013. At the time of his retirement, plaintiff

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was the Director of the Department of Public Works. That department collected

abandoned scrap metal from around the city and sold it to a scrap metal company.1

Plaintiff’s retirement was prompted by allegations that he had embezzled the city’s

scrap metal proceeds, and assertions that he risked losing his pension. (Garber Dep.

at 15, 28-34, ECF No. 47-2, PageID.913, 916-18).

       1.    The Criminal Investigation

       In February 2013, the City of Manistee hired Jeffrey Mikula as Utilities

Director. Mr. Mikula was interested in using the sale of the City’s scrap metal as a

source of funding. While looking into that matter, he learned of the existence of a

check from the Padnos Scrap Metal Company made payable to plaintiff, which was

in the DPW safe. The check was dated February 26, 2013, in the amount of $901.60.

Mr. Mikula told City Treasurer Edward Bradford, of the discovery of the check.

(Miller Report at 4-5, 35; ECF No. 43-2; PageID.381-82, 412).2

       Immediately after receiving this information, Mr. Bradford asked plaintiff to

bring the check to the treasurer’s office so that it could be deposited into the city’s




1 Plaintiff is advised that the purported verification at the end of his complaint
(ECF No. 1, PageID.21), and at the end of his proposed amended complaint (ECF No.
35, PageID.286), are being disregarded for the purposes of this decision.
“ ‘[S]tatements made on belief or on “information and belief,” cannot be utilized on a
summary-judgment motion.’ ” Ondo v. City of Cleveland, 795 F.3d 597, 605 (6th Cir.
2015) (quoting 10B CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY KANE,
FEDERAL PRACTICE AND PROCEDURE § 2738, at 345 (3d ed. 1998)).
2 At the motion hearing, plaintiff’s counsel conceded the accuracy of the information

in the report of Michigan State Police Detective Sergeant Mark Miller, and that the
Court may rely on the information in the report for purposes of defendants’ summary
judgment motions. The report will be referred to herein simply as the “Miller Report,”
which is found in the record at ECF No. 43-2.
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bank account. Mr. Bradford then began a review of the city’s financial records to

determine whether there had been any misuse of the scrap metal funds. He obtained

records from Padnos relating to the city’s sales of scrap metal dating back to 2006.

(Id. at 5, PageID.382).

       These records indicated that Padnos did not follow a uniform procedure for

issuing payment for the city’s scrap metal. In some instances, the company issued

checks payable to the “City of Manistee”; in other instances, it issued checks payable

to “John Robert Garber,” “Jack Garber,” and “Ed Cote.”3           (Id.).   Mr. Bradford

compared the Padnos checks against the record of deposits. He discovered that two

of the checks made payable to “John Robert Garber” in July 2012 had never been

received by his office, nor had they been deposited into the city’s bank account. (Id.).

One of the checks was dated July 20, 2012, and the other July 23, 2012. Both checks

included plaintiff’s home address.      The checks totaled $2,129.46.         (Id. at 7,

PageID.384). They were both endorsed by plaintiff and deposited into his personal

account at the Filer Credit Union. (Id. at 33, PageID.410). The City of Manistee did

not have an account at that credit union. (Id. at 5, PageID.382).

       On March 27, 2013, Mr. Bradford informed City Manager Deisch of the two

checks in question.4 Mr. Bradford advised Mr. Deisch that there was no record that

the funds from these checks had ever been deposited into the city bank account.




3Mr. Cote worked as the City of Manistee’s Utility Director. He is retired.
4Mr. Deisch had first been made aware of the potential conversion of funds during a
breakfast meeting on March 22, 2013. (Miller Report at 6, PageID.383).
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(Miller Report at 7, PageID.384). Also on that day, Manistee City Police Department

Detective John Riley contacted Michigan State Police Detective Mark Miller, and

informed him of a potential complaint involving embezzlement of city funds.

Detective Riley asked that, due to the police department’s potential conflict of

interest, the Michigan State Police assume responsibility for conducting the criminal

investigation. (Id. at 4, PageID.381).

      In the morning of the next day, March 28, Police Chief David Bachman advised

plaintiff of the concerns that plaintiff was converting the city’s scrap metal proceeds

to his personal use. Plaintiff denied having ever personally endorsed a Padnos check,

and he stated that he would have turned over all such checks to the City Treasurer’s

Office. City Manager Deisch placed plaintiff on paid administrative leave pending

an investigation into the matter. (Id. at 9, PageID.386).

      Later that same day, Detective Miller met with the following city officials:

Police Chief Bachman, Detective Riley, City Treasurer Bradford, and Utilities

Director Mikula. Detective Miller was given information and documents that had

already been obtained from Padnos and the city’s finance department. Detective

Miller delayed the beginning of his investigation pending the city’s receipt of copies

of the cancelled checks in question. He began his investigation on April 1, 2013.

(Miller Report at 4-5, PageID.381-82).

      In the meantime, on Easter Sunday, March 31, 2013, Police Chief Bachman

went to plaintiff’s residence, at plaintiff’s request. Plaintiff provided Chief Bachman

a sealed envelope addressed to the chief. Plaintiff advised the chief that the envelope

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contained a letter concerning the scrap metal issue.        Plaintiff also mentioned

something about the Department of Public Works and the Sewer and Water

Departments always having “slush funds” on hand. Chief Bachman did not open the

envelope, but rather, took it to City Manager Deisch’s home, and left it with him. Mr.

Deisch did not open the envelope until the next morning. (Id. at 9, PageID.386). The

envelope contained a one-page letter, dated March 29, 2013, in which plaintiff

explained the past practice for the use of the city’s scrap metal proceeds.5 In the

letter, plaintiff denied ever converting city funds to his own use, asserting that the

scrap metal proceeds were used for “retirements, cookouts, Christmas Parties and

buying some tools.”6 (Id. at 11, PageID.388). Mr. Deisch returned the letter to Chief

Bachman the same day. (Id. at 9, PageID.386). The letter was later turned over to

Detective Miller. (Id. at 11, PageID.388).

       On April 1, 2013, plaintiff contacted City Manager Deisch, and plaintiff

submitted an official request to be placed on retirement status. Mr. Deisch granted

that request. (Miller Report at 7, PageID.384). The next day, Mr. Deisch issued a

press release announcing plaintiff’s retirement in which he noted: “I can confirm

after being asked by the media that an investigation has been initiated by the

Michigan State Police concerning activities of Mr. Garber in his official duties as a




5 The contents of the letter are found in the Miller Report at 11, ECF No. 43-2,
PageID.388.
6 According to Police Chief Bachman, plaintiff had previously claimed that he paid for

the Christmas parties with his own money. (Miller Report at 44, ECF No. 43-2,
PageID.421).
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City employee. No further comments will be made until the official investigation is

completed by the Michigan State Police.” (ECF No. 57-10, PageID.1606).

      Detective Miller interviewed Mr. Deisch on April 2. Among other things, Mr.

Deisch advised the detective that, when he began his tenure as City Manager in 2001,

there had been a practice in place in which the city’s scrap metal proceeds were used

to pay for employee picnics and Christmas parties. This included the purchase of

alcohol. Mr. Deisch put a stop to the purchase of alcohol with city funds, but the use

of city funds to otherwise pay for these social events continued. To his knowledge, no

employee was ever given permission to use city funds for personal use. (Miller Report

at 6-8, ECF No. 43-2, PageID.383-85).

      City Treasurer Bradford also advised Detective Miller that no employee had

been given authorization to use city funds for personal use. Mr. Bradford explained

that the issue of the use of the city’s scrap metal proceeds had been discussed during

a meeting in the previous few years, and that he had informed plaintiff of the

requirement that any such funds be deposited into the city’s bank account. (Id. at 8,

PageID.385).

      Detective Miller interviewed a number of city employees and former

employees. Many of these individuals indicated either that the city did not have a

formal policy regarding the handling of the city’s scrap metal, or that they had no

knowledge of such a policy. (Miller Report at 12-31, PageID.389-408). Edward Cote,

a retired supervisor of the City Water Department, and then member of the Manistee

City Council, advised the detective that the city’s scrap metal proceeds had previously

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been used for Christmas and retirement parties, and that he had once obtained

permission from City Manager Deisch and City Treasurer Bradford to purchase a

refrigerator and other items for the Waste Water Treatment Plant. Detective Miller

obtained records indicating that a couple of Padnos checks were made payable to Mr.

Cote, which were deposited into the city’s bank account. (Id. at 22-23, PageID.399-

400). The detective obtained from Mr. Bradford a copy of a letter, dated June 18,

2007, documenting Mr. Cote’s request to use scrap metal proceeds to purchase the

refrigerator and other items for the Waste Water Treatment Plant.          (Id. at 22,

PageID.399).

      During his investigation, Detective Miller obtained records from Padnos

concerning the City of Manistee’s sale of scrap metal. These records showed fifteen

scrap metal sales involving plaintiff between November 29, 2006, and July 23, 2012.

In twelve of these transactions, checks were issued payable to plaintiff; in the three

others, plaintiff was paid in cash. All twelve checks were endorsed by plaintiff and

either deposited into his account or cashed at the Filer Credit Union. The records

also reflected two Padnos checks made payable to another Department of Public

Works employee, which were endorsed by plaintiff and deposited into his personal

account at the Filer Credit Union. The funds involved in the seventeen transactions

totaled $9,357.83. City Treasurer Bradford advised Detective Miller that he had no

information or documentation that any of these funds were ever deposited into the

city’s bank account or turned over to the City Treasurer’s Office. (Miller Report at

32-34, PageID.409-11).

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      The Padnos records also included eight transactions involving the sale of the

City of Manistee scrap metal from August 16, 2006, and December 4, 2012, by

employees other than plaintiff.      The total proceeds of these transactions was

$10,883.49. Records reflect that the proceeds from each of these eight transactions

were deposited into the city’s bank account. (Id. at 34, PageID.411).

      On April 29, 2013, Manistee County Chief Assistant Prosecutor Jason Haag

reviewed and approved an affidavit and search warrant for records relating to

plaintiff’s account at the Filer Credit Union. (Id. at 36, PageID.413). April 30, 2013,

85th District Judge Brunner authorized a search warrant based on the affidavit

approved by Mr. Haag. (Id.). The credit union provided records dating back to May

2007 (prior records had already been purged), which reflected eight transactions in

which plaintiff deposited Padnos checks into his personal account and then made an

immediate cash withdrawal in the same amount. There were no credit union records

found relating to cash payments Padnos made to plaintiff. (Id. at 38, PageID.415).

      Detective Miller contacted plaintiff’s then-attorney, Mark Quinn, on

August 19, 2013, requesting an interview with plaintiff. Mr. Quinn stated that he

would discuss the request with plaintiff and advise the detective of plaintiff’s

response the following week. Detective Miller did not hear back from Mr. Quinn.

(Miller Report at 38, PageID.415).

      On August 29, 2013, Detective Miller submitted a complaint against plaintiff

to the Manistee County Prosecuting Attorney. The county prosecutor, citing a conflict

of interest, asked the Michigan Attorney General’s Office to assign the case to another

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prosecutor. Detective Miller was informed on October 8, 2013, that plaintiff’s case

had been assigned to Mason County Prosecutor Paul Spaniola.                (Id. at 39,

PageID.416).

        On October 11, 2013, Prosecutor Spaniola asked Detective Miller to conduct

three additional interviews:    former Manistee City Manager Ben Bifoss, former

Manistee Director of Department of Public Works Dale Picardat, and former

Manistee City Treasurer Ken Oleniczak.7 (Id.). Plaintiff had identified these three

individuals in his March 29, 2013, letter to Police Chief Bachman as individuals who

could support his explanation for the handling of scrap metal sales and the use of the

sales’ proceeds. (See id. at 11, 39; PageID.388, 416).

        Mr. Bifoss advised Detective Miller that he did not recall the specifics of how

the City of Manistee handled scrap metal sales or the proceeds of those sales, but he

stated: “[C]learly, any proceeds coming into the City from any source would need to

go directly to the City.” Mr. Bifoss acknowledged that some of the scrap metal

proceeds could have been used for employee parties or picnics. (Miller Report at 40,

ECF No. 43-2, PageID.417).

        Mr. Picardat stated that he was unaware of any scrap metal proceeds being

used to fund employee parties or picnics, or to purchase tools. He denied the existence




7In his deposition, Prosecutor Spaniola testified that he asked Detective Miller to
conduct these interviews because he wanted clarification regarding whether plaintiff
had a tacit understanding with the previous city manager (Mr. Bifoss) to handle the
scrap metal proceeds the way he did. (Spaniola Dep. at 9-10, ECF No. 47-1,
PageID.889-90).
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of any “slush fund.” Mr. Picardat advised that, while he had not been specifically told

to submit all sales proceeds to city hall, he knew to do that, describing it as an ethical

issue. (Id.).

        Mr. Oleniczak told Detective Miller that, during his time with the city, scrap

metal was sold to a local scrap dealer, and that the dealer made the payments directly

to the city. He advised that, to the best of his knowledge, no city money was used to

fund parties or picnics. (Id. at 41, PageID.418).

        2.      The Prosecution

        On October 29, 2013, Prosecutor Spaniola obtained a misdemeanor warrant

against plaintiff on the charge of embezzlement – agent or trustee, at least $200 but

less than $1,000, MICH. COMP. LAWS § 750.174(3). (Miller Report at 42, ECF No. 43-

2, PageID.419). Mr. Spaniola made the probable cause decision himself, without

consulting anyone else. (Spaniola Dep. at 16-17, ECF No. 47-1, PageID.891). He

testified that the Prosecuting Attorney for Manistee County had led him to believe

“that [plaintiff] having no prior record would be amenable to a quick disposition on a

misdemeanor basis.” (Id. at 13, PageID.890).

        On November 1, 2013, plaintiff was arraigned on the misdemeanor

embezzlement charge.       Later that day, Mr. Spaniola issued a press release,

announcing the misdemeanor charge against plaintiff.8                 (ECF No. 43-17,




8 Mr. Spaniola testified in his deposition that, prior to the issuance of the
misdemeanor charge, he had been contacted by a reporter from a local newspaper
with questions regarding potential charges against plaintiff. He declined to answer
the reporter’s questions, noting that his practice was not to release such information
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PageID.848).    The press release included the potential maximum penalties for

conviction, the fact that plaintiff had been released on bond, that Mr. Spaniola had

been appointed special prosecutor, the specific allegations underlying the

misdemeanor charge, and the name of plaintiff’s counsel (Mark Quinn). (Id.). The

press release ended with the admonition that plaintiff “is presumed innocent of this

charge unless proven guilty in a court beyond a reasonable doubt.” (Id.). The press

release resulted in media reports in the local newspaper.       (See ECF No. 57-11,

PageID.1614).

      Mr. Spaniola offered plaintiff various plea resolutions, including a dismissal of

the charge in exchange for plaintiff’s agreement to pay the city restitution. (Spaniola

Dep. at 26, ECF No. 47-1, PageID.894). Mr. Quinn sent Mr. Spaniola a letter, dated

March 26, 2014, advising that plaintiff had rejected the plea offers, including that he

was “unwilling to make a financial offer that may result in the dismissal of charges.”

(ECF No. 58-13, PageID.1903). Consequently, Mr. Spaniola decided that he would

no longer “cut [plaintiff] a break” and that he would file felony charges. (Spaniola

Dep. at 25, ECF No. 47-1, PageID.893).

      On April 3, 2014, Prosecutor Spaniola obtained a three-count felony warrant

against plaintiff, charging embezzlement – agent or trustee, at least $999 but less

than $20,000, MICH. COMP. LAWS § 750.174(4); public money – safe keeping, MICH.




until after an individual has been arraigned. Mr. Spaniola then sent the reporter the
press release after plaintiff’s arraignment. (Spaniola Dep. at 19, ECF No. 47-1,
PageID.892).
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COMP. LAWS § 750.490; and embezzlement – public official, MICH. COMP. LAWS

§ 750.175. (Miller Report at 43, ECF No. 43-2, PageID.420). On April 15, 2014,

plaintiff was arraigned on these charges. (Id.). The felony charges were reported in

the media. (See ECF No. 57-13).

        A preliminary hearing on the felony charges was held on May 7, 2014, before

Manistee County District Judge Thomas Brunner. During the preliminary hearing,

nine witnesses testified for the prosecution, including Utilities Director Jeffrey

Mikula, City Treasurer Edward Bradford, and City Manager Mitchell Deisch.

(Prelim. Tr., ECF No. 47-4). Messieurs Mikula, Bradford, and Deisch each testified

either that he was not aware of, or did not recall, the city having a written policy

concerning the disposal of scrap metal during plaintiff’s employment. (Id. at 15, 39,

64, PageID.1019, 1043, 1069). Mr. Bradford testified, however, that he had twice

advised plaintiff that any check reflecting the proceeds of the sale of the city’s scrap

metal needed to be brought to City Hall, and that all scrap metal proceeds had to be

processed through the city. (Id. at 31, PageID.1035).9

        At the conclusion of the preliminary hearing, plaintiff’s counsel, Mr. Quinn,

argued, among other things, that the historical use of the city’s scrap metal proceeds

for employee functions, coupled with a lack of a written policy regarding the use of

those proceeds, precluded a probable cause finding of a knowing and unlawful




9In his deposition, plaintiff acknowledged that Mr. Bradford had informed him of the
requirement that the checks be run through the city. (Garber Dep. at 74-75, ECF No.
47-2, PageID.928). Plaintiff also testified that, because Mr. Bradford was not his
boss, he could ignore his instructions. (Id. at 75, 83, PageID.928, 930).
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appropriation of city funds for plaintiff’s own use. (Id. at 165-66, PageID.1170-71).

Judge Brunner disagreed.

      He found that the prosecution had met its burden of establishing probable

cause that plaintiff committed the three felony offenses Mr. Spaniola had charged.

Among other things, the judge noted the following:

      The primary focus of the prelim pertains to two checks issued by Padnos,
      exhibits one and two. Exhibit one is a check dated July 23, 2012, in the
      amount of $1787.53. The exhibit two is a check issued by Padnos on
      July 20, 2012, in the amount of $343.93. The payee on both of those
      checks is set forth as John Robert Garber, the Defendant in this case.
      Both checks were endorsed by John Robert Garber at Filer Credit Union
      in Manistee County. Mr. Garber had a personal account there. Mr.
      Garber, at the time of the cashing of these checks, was the Director of
      Public Works in the City of Manistee. The evidence indicates that these
      two checks were not endorsed over to the City of Manistee. There’s no
      indications of any accountings from the Public Works Department in
      regard to the disposition of the proceeds.
             ...
      These two particular checks, it’s sufficient probable cause that they did
      come to Mr. Garber in his official capacity. The question becomes was
      there an unlawful knowing and unlawful appropriation of this money to
      his own use? In this case, the money was taken to – the checks were
      taken to the Filer Credit Union, they were cashed, and Mr. Garber
      received the cash from the bank. The two checks in question show that
      as having happened. The exhibit six shows the checks being cashed and
      the cash back, being provided to Mr. Garber. So that’s what we have at
      this juncture of a probable cause hearing. We have City property, the
      scrap metal proceeds, having been check cashed, turned into cash, and
      the cash is in the pocket of Mr. Garber.
(Prelim. Tr. at 170-72, ECF No. 47-4, PageID.1175-77).           Judge Brunner bound

plaintiff over to circuit court on all three felony charges in the complaint. (Id. at 174,

PageID.1179).




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      In August 2014, Mr. Quinn filed a motion to quash Judge Brunner’s bind-over

order. (Spaniola Dep. at 29, ECF No. 47-1, PageID.894). On November 20, 2014,

Circuit Court Judge James Batzer held a hearing on that motion.             Mr. Quinn

conceded that plaintiff had received the city’s scrap metal proceeds at issue, but he

argued that there was insufficient evidence to establish probable cause that plaintiff

knowingly and unlawfully converted the money to his own use, which is required to

support each of the three charges. (Mtn Tr. at 4-11, ECF No. 57-6, PageID.1581-83).

Circuit Judge Batzer agreed:

      Well, the problem that the prosecutor has in this case is that they can’t
      show on a probable cause basis that this defendant dishonestly disposed
      of the money, or converted it to his own use, or took the money with the
      intent to convert it to his own use without consent of the city, or that he
      used it for an unauthorized purpose.
(Id. at 22-23, PageID.1585-86).    The judge quashed the bind over.         (Id. at 31,

PageID.1588).

      Prosecutor Spaniola elected not to appeal the dismissal of the case. In a

January 14, 2015, email, Detective Miller asked Prosecutor Spaniola whether he

should close the case and destroy any property he obtained during the course of the

investigation. In response, Prosecutor Spaniola stated: “Yes, go ahead and destroy

the property and close the complaint as ‘case dismissed by Judge.’ ” (Email from Paul

Spaniola to Mark Miller, dated Jan. 14, 2015, ECF No. 43-2, PageID.427).

      3.     The Election

      Plaintiff filed the necessary paperwork to seek election to a vacant city council

position in May 2013, a month after his retirement from the Department of Public


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Works. (Garber Dep. at 52-53, ECF No. 43-7, PageID.537). Plaintiff did not have

election signs published or prepared. The election took place November 5, 2013, with

Mark Wittliff being elected to the position. Plaintiff came in second in the three-way

race, approximately fifteen votes behind Mr. Wittliff and roughly thirty votes ahead

of the third-place candidate. No one told plaintiff that he or she would have voted for

him but for the criminal charges pending against him. (Id. at 58-60, PageID.539).

      Mr. Spaniola testified that he was unaware that plaintiff was running for

elective office until sometime after he decided to file criminal charges against him.

(Spaniola Dep. at 16, ECF No. 47-1, PageID.891).

      Plaintiff filed the instant lawsuit on May 2, 2016.

                         Summary Judgment Standard

      Summary judgment is appropriate when the record reveals that there are no

genuine issues as to any material fact in dispute and the moving party is entitled to

judgment as a matter of law. Fed. R. Civ. P. 56(a); McKay v. Federspiel, 823 F.3d 862,

866 (6th Cir. 2016). The standard for determining whether summary judgment is

appropriate is “whether ‘the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one-sided that one party must prevail as a

matter of law.’ ” Rocheleau v. Elder Living Const., LLC, 814 F.3d 398, 400 (6th Cir.

2016) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986)). The

Court must consider all pleadings, depositions, affidavits, and admissions on file, and

draw all justifiable inferences in favor of the party opposing the motion. See




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Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); France

v. Lucas, 836 F.3d 612, 624 (6th Cir. 2016).

      When the party without the burden of proof seeks summary judgment, that

party bears the initial burden of pointing out to the district court an absence of

evidence to support the nonmoving party’s case, but need not support its motion with

affidavits or other materials “negating” the opponent’s claim. See Morris v. Oldham

County Fiscal Court, 201 F.3d 784, 787 (6th Cir. 2000); see also Minadeo v. ICI Paints,

398 F.3d 751, 761 (6th Cir. 2005). Once the movant shows that “there is an absence

of evidence to support the nonmoving party’s case,” the nonmoving party has the

burden of coming forward with evidence raising a triable issue of fact. Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986). To sustain this burden, the nonmoving party

may not rest on the mere allegations in his pleadings. See Ellington v. City of E.

Cleveland, 689 F.3d 549, 552 (6th Cir. 2012); see also Scadden v. Werner, 677 F. App’x

996, 1001 (6th Cir. 2017). The motion for summary judgment forces the nonmoving

party to present evidence sufficient to create a genuine issue of fact for trial. Street

v. J.C. Bradford & Co., 886 F.2d 1472, 1478 (6th Cir. 1990); see Newell Rubbermaid,

Inc. v. Raymond Corp., 676 F.3d 521, 533 (6th Cir. 2012). “A mere scintilla of evidence

is insufficient; ‘there must be evidence on which a jury could reasonably find for the

[non-movant].’ ” Dominguez v. Correctional Med. Servs., 555 F.3d 543, 549 (6th Cir.

2009) (quoting Anderson, 477 U.S. at 252); see Brown v. Battle Creek Police Dep’t, 844

F.3d 556, 565 (6th Cir. 2016).




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                                       Discussion

I.       Defendant Paul Spaniola Is Entitled To Summary Judgment.

         A.    Mr. Spaniola Enjoys Absolute Immunity Against Plaintiff’s Federal
               Claims.

         Defendant Paul Spaniola is the elected Prosecutor of Mason County. His

involvement in this case was limited to his role as a Special Prosecutor for Manistee

County. He assumed responsibility for the Garber case at the request of the Manistee

County Prosecutor, who was concerned about a potential conflict of interest.

         Under common law, prosecutors enjoy absolute immunity for acts committed

during the performance of their duties as advocates for the State. See Yaselli v. Goff,

12 F.2d 396, 406 (2d Cir. 1926), aff’d 275 U.S. 503 (1927) (per curiam). In Imbler v.

Pachtman, the Supreme Court specifically recognized that prosecutors have

immunity against Section 1983 claims. 424 U.S. 409, 424 (1976). The Court noted:

         A prosecutor is duty bound to exercise his best judgment both in deciding
         which suits to bring and in conducting them in court. The public trust
         of the prosecutor’s office would suffer if he were constrained in making
         every decision by the consequences in terms of his own potential liability
         in a suit for damages. Such suits could be expected with some frequency,
         for a defendant often will transform his resentment at being prosecuted
         into the ascription of improper and malicious actions to the State’s
         advocate.

Id. at 424-25. The Court also noted that, absent such immunity, “[the prosecutor’s]

energy and attention would be diverted from the pressing duty of enforcing the

criminal law.” Id. at 425. “To be sure, this immunity does leave a genuinely wronged

defendant without civil redress against a prosecutor whose malicious or dishonest

action deprives him of liberty.      But the alternative of qualifying a prosecutor’s


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immunity would disserve the broader public interest. . . . [in] the vigorous and fearless

performance of the prosecutor’s duty. . . .” Id. at 427-28. Absolute immunity extends

to the knowing use of false testimony, see Burns v. Reed, 500 U.S. 478, 485 (1991)

(citing Imbler v. Pachtman, 424 U.S. at 426), and to the suppression of exculpatory

evidence, Koubriti v. Convertino, 593 F.3d 459, 470 (6th Cir. 2010).

      The courts have adopted a “functional approach” in determining whether the

particular actions of a prosecutor are subject to absolute immunity.          Buckley v.

Fitzsimmons, 509 U.S. 259, 268-69 (1993) (citing Burns v. Reed, 500 U.S. 478, 486

(1991)). This approach looks to “the nature of the function performed, not the identity

of the actor who performed it.” Forrester v. White, 484 U.S. 219, 229 (1988). “[T]he

official seeking absolute immunity bears the burden of showing that such immunity

is justified for the function in question.” Burns v. Reed, 500 U.S. at 486.

      Functions subject to absolute immunity include “the initiation and pursuit of

a criminal prosecution, including presentation of the state’s case at trial,” Buckley v.

Fitzsimmons, 509 U.S. at 269, and the participation in a probable cause hearing,

Burns v. Reed, 500 U.S. at 492. The prosecutor’s acts prefatory to bringing charges,

including interviewing witnesses and evaluating evidence, are likewise absolutely

immunized. Buckley v. Fitzsimmons, 509 U.S. at 273. In Imbler v. Pachtman, the

Supreme Court recognized that “the duties of the prosecutor in his role as advocate

for the State involve actions preliminary to the initiation of a prosecution and actions

apart from the courtroom.” 424 U.S. at 431 n.33.




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         Administrative duties and purely investigatory activity that are unrelated to

the preparation and prosecution of a criminal case are not entitled to absolute

immunity, however. See Buckley v. Fitzsimmons, 509 U.S. at 273. Rather, these acts

are subject to qualified immunity. Id. “When a prosecutor performs the investigative

functions normally performed by a detective or police officer, it is ‘neither appropriate

nor justifiable that, for the same act, immunity should protect the one and not the

other.’ ” Id. (quoting Hampton v. Chicago, 484 F.2d 602, 608 (7th Cir. 1973) (internal

quotation marks omitted)). Merely providing legal advice to law enforcement is

similarly subject to qualified immunity. Burns v. Reed, 500 U.S. at 492-95. Qualified

immunity is the norm. Malley v. Briggs, 475 U.S. 335, 340 (1986).

         Plaintiff’s claims against defendant Spaniola arise out of his actions as Special

Prosecutor in plaintiff’s underlying criminal complaint. According to the complaint,

Mr. Spaniola did not become involved until his October 8, 2013, appointment as

Special Prosecutor by the Michigan Attorney General. (Complaint ¶ 22, ECF No. 1,

PageID.5; Proposed First Amended Complaint ¶ 22, ECF No. 35, PageID.267).

         Plaintiff argues that Prosecutor Spaniola is not entitled to absolute immunity

for certain of his actions relating to the embezzlement investigation and for his

actions relating to the issuance of the press release.10 (Pltf Br.at 11-13, ECF No. 58,




10In his response to defendant Spaniola’s motion for summary judgment, plaintiff
alleges that Mr. Spaniola ordered the destruction of evidence and that he withheld
production of the press release in response to plaintiff’s FOIA request. (Pltf Br. at 8,
13, ECF No. 58, PageID.1705, 1710). Neither allegation appears in the complaint or
the proposed amended complaint, and neither is supported by affidavit or other
admissible evidence. Accordingly, these allegations must be disregarded for purposes
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PageID.1708-10). Specifically, in his proposed amended complaint, plaintiff alleges

that, on October 11, 2013, Mr. Spaniola “asked [Detective] Miller to interview

[Department of Public Works] employees Bifoss, Picardat and Oleinczak (sp)” in order

to “delay requesting the arrest warrant.” (Proposed First Amended Complaint ¶ 22,

ECF No. 35, PageID.267).       Plaintiff claims that Mr. Spaniola timed the arrest

warrant and the issuance of the related press release in order to effect the outcome

of the election for city council. (Id. at ¶¶ 22-25, PageID.267-68). Plaintiff also

complains that Mr. Spaniola sent a letter to plaintiff’s counsel in the criminal case

“threatening to dismiss the misdemeanor charges and to bring criminal felony

charges against Plaintiff for embezzling city funds[,] if Plaintiff did not accept a plea

offer made by Defendant Spaniola.”        (Id. at ¶ 26, PageID.268).     None of these

allegations defeat absolute immunity.

       Mr. Spaniola’s request that Detective Miller interview Messieurs Bifoss,

Picardat, and Oleniczak falls squarely within his role as the prosecutor. Mr. Spaniola

asked that these additional witnesses be questioned because plaintiff had identified

them as individuals who would corroborate his defense: that he properly handled the

city’s scrap metal proceeds, and that he used the funds for employee functions. (See




of this Opinion. See Duha v. Agrium, Inc., 448 F.3d 867, 879 (6th Cir. 2006)
(“Arguments in parties’ briefs are not evidence.”). Moreover, the perfunctory nature
of these assertions warrants a finding that the issues have been waived. See
McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997) (“[I]ssues adverted to in a
perfunctory manner, unaccompanied by some effort at developed argumentation, are
deemed waived. It is not sufficient for a party to mention a possible argument in the
most skeletal way, leaving the court to . . . put flesh on its bones.” (quotation and
citation omitted)).
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Miller Report at 11, 39; ECF No. 43-2, PageID.388, 416). The information obtained

from these witnesses was relevant to the issue of whether plaintiff could, and should,

be charged with embezzlement. Directions to obtain additional information directly

relevant to a charging decision are appropriate and well within the function

performed by a prosecutor. Moreover, Detective Miller’s report – the accuracy of

which plaintiff concedes – indicates that the detective conducted these interviews

without Mr. Spaniola. (See id. at 40-41, PageID.417-18). Mr. Spaniola is entitled to

absolute immunity concerning his request that Detective Miller interview Messieurs

Bifoss, Picardat, and Oleniczak. Because this activity falls within the function of a

prosecutor, Mr. Spaniola’s motive, to the extent it is in issue, is irrelevant.11 See, e.g.,

Imbler v. Pachtman, 424 U.S. at 425.

         Mr. Spaniola’s issuance of a press release on November 1, 2013, followed

plaintiff’s public arraignment earlier that day. (ECF No. 43-17, PageID.848). Prior

to the arraignment, Mr. Spaniola had been contacted by a reporter from a local

newspaper with questions regarding potential charges against plaintiff. He declined

to answer the reporter’s questions because his practice was not to release such

information until after an individual had been arraigned. (Spaniola Dep. at 19, ECF

No. 47-1, PageID.892). The press release included the potential maximum penalties

for conviction, the fact that plaintiff had been released on bond, that Mr. Spaniola




11This would include plaintiff’s allegation that Prosecutor Spaniola was motivated,
at least in part, to promote his candidacy for Circuit Court Judge. (See Proposed First
Amend. Complaint ¶ 58, ECF No. 35, PageID.275-76).
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had been appointed special prosecutor, the specific allegations underlying the

misdemeanor charge, and the name of plaintiff’s counsel (Mark Quinn). (ECF No. 43-

17, PageID.848). The press release ended with the admonition that plaintiff “is

presumed innocent of this charge unless proven guilty in a court beyond a reasonable

doubt.” (Id.).

      While the issuance of a press release is not necessary to the prosecution of a

criminal case, it is certainly a function typically performed by a prosecutor that is

directly related to the prosecution of the criminal case. The public generally has a

right to know what is occurring in its courts and what actions its public servants are

taking. The Supreme Court has recognized a qualified right of public access even to

preliminary criminal proceedings where there has been “a tradition of accessibility”

and when public access “plays a significant role in the functioning of the particular

process in question.” Press-Enterprise Co. v. Superior Court of California (Press

Enterprise II), 478 U.S. 1, 8-9 (1986).

      It is hardly surprising that the media would express interest in a criminal case

involving the former Director of Public Works for the City of Manistee. Prosecutor

Spaniola received a media request for information and he deferred providing that

information until after a public arraignment had been conducted. The press release

contained nothing but factual information the public could have obtained from the

court docket, and it included an admonition regarding the presumption of innocence.

Accordingly, Mr. Spaniola was acting within the functions of a prosecutor when he

issued the press release.

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         Plaintiff’s allegations regarding Mr. Spaniola’s “threat” to charge plaintiff with

a felony unless he accepted the prosecutor’s misdemeanor plea offers fares no better.

In Bordenkircher v. Hayes, a Kentucky grand jury charged Hayes with uttering a

forged instrument in the amount of $88.30, an offense for which the maximum

penalty was ten years’ imprisonment. 434 U.S. 357, 358 (1978). The prosecutor

offered to recommend a five-year sentence if Hayes would plead guilty to the charge.

The prosecutor also advised Hayes that, if he did not accept the plea proposal, he

would seek an indictment under Kentucky’s Habitual Criminal Act, “which would

subject Hayes to a mandatory sentence of life imprisonment by reason of his two prior

felony convictions.” Id. at 358-59. Hayes rejected the plea offer, was convicted at

trial of the enhanced charge, and was given a life sentence. Id. at 359.

         The Supreme Court rejected Hayes’ contention that the prosecutor had

violated his due process rights. Id. at 364-65. In reaching its decision, the Court

noted:

         While confronting a defendant with the risk of more severe punishment
         clearly may have a “discouraging effect on the defendant’s assertion of
         his trial rights, the imposition of these difficult choices [is] an inevitable”
         – and permissible – “attribute of any legitimate system which tolerates
         and encourages the negotiation of pleas.” It follows that, by tolerating
         and encouraging the negotiation of pleas, this Court has necessarily
         accepted as constitutionally legitimate the simple reality that the
         prosecutor’s interest at the bargaining table is to persuade the
         defendant to forego his right to plead not guilty.

Id. at 364 (quoting Chaffin v. Stynchcombe, 412 U.S. 17, 31 (1973)).

         As is evident from the Supreme Court’s holding in Bordenkircher v. Hayes,

Prosecutor Spaniola’s plea negotiation strategy was constitutional, and, more to the

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point, well within the proper function of a prosecutor. Mr. Spaniola is entitled to

absolute immunity as to his conduct in the plea negotiation process.12

         B.    In the Alternative, Mr. Spaniola Enjoys Qualified Immunity on
               Plaintiff’s Federal Claims.

         Even if the Court were to find that defendant Spaniola was not entitled to

absolute immunity for his actions relating to the investigation and issuance of the

press release, he would still be entitled to qualified immunity with respect to the

federal claims. See Buckley v. Fitzsimmons, 509 U.S. at 273. Defendant Spaniola

asserted the affirmative defense of qualified immunity in his answer. (See ECF No.

6, PageID.84). “Once [an] official[ ] raise[s] the qualified immunity defense, the

plaintiff bears the burden to >demonstrate that the official [is] not entitled to qualified

immunity.’ ” LeFever v. Ferguson, 645 F. App=x 438, 442 (6th Cir. 2016) (quoting

Silberstein v. City of Dayton, 440 F.3d 306, 311 (6th Cir. 2006)); see Hermansen v.

Thompson, 678 F. App’x 321, 325 (6th Cir. 2017).

         “A government official sued under section 1983 is entitled to qualified

immunity unless the official violated a statutory or constitutional right that was

clearly established at the time of the challenged conduct.” Carroll v. Carman, 135

S. Ct. 348, 350 (2014); see Taylor v. Barkes, 135 S. Ct. 2042, 2044 (2015); Lane v.




12During oral argument on the pending motions, plaintiff’s counsel asked the Court
to consider the decision in Spurlock v. Thompson, 330 F.3d 791 (6th Cir. 2003). The
Court has done that. That decision does not warrant a different outcome. In that
case, the Sixth Circuit held that a prosecutor was not acting as an advocate, and not
entitled to absolute immunity, for his actions in threatening a witness more than a
year after the conclusion of the criminal proceedings. Id. at 798. The significance of
the factual distinction between that case and the instant case needs no explanation.
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Franks, 134 S. Ct. 2369, 2381 (2014). The first prong of qualified immunity analysis

is whether the plaintiff has alleged facts showing that defendant=s conduct violated a

constitutional or statutory right.13 See Saucier v. Katz, 533 U.S. 194, 201 (2001). The

second prong is whether the right was “clearly established” at the time of the

defendant=s alleged misconduct. Id. Trial courts are permitted to exercise their sound

discretion in deciding which of the two prongs of the qualified immunity analysis

should be addressed first. See Pearson v. Callahan, 555 U.S. 223, 236 (2009).

         The Supreme Court has repeatedly held that the second prong of the qualified

immunity analysis “ ‘must be undertaken in light of the specific context of the case,

not as a broad general proposition.’ ” Brosseau v. Haugen, 543 U.S. 194, 198 (2004)

(quoting Saucier v. Katz, 533 U.S. at 201); see White v. Pauly, 137 S. Ct. 548, 552

(2017). Moreover, courts are “not to define clearly established law at a high level of

generality, since doing so avoids the crucial question whether the official acted

reasonably in the particular circumstances that he or she faced.” Plumhoff v.




13 A qualified immunity defense can be asserted at various stages of the litigation,
including the summary judgment stage. See English v. Dyke, 23 F.3d 1086, 1089 (6th
Cir. 1994). The qualified immunity inquiry at the summary judgment stage is
distinguished from the Rule 12(b)(6) stage in that generalized notice pleading no
longer suffices, and the broader summary judgment record provides the framework
within which the actions of each individual defendant must be evaluated. At the
summary judgment stage, “the plaintiff must, at a minimum, offer sufficient evidence
to create a ‘genuine issue of fact,’ that is, ‘evidence on which a jury could reasonably
find for the plaintiff.’ ” Thompson v. City of Lebanon, Tenn., 831 F.3d 366, 369-70
(6th Cir. 2016) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. at 256); see Gardner
v. Evans, 811 F.3d 844, 846 (6th Cir. 2016); see also Zuhl v. Haskins, 652 F. App’x
358, 361(6th Cir. 2016).
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Rickard, 134 S. Ct. 2012, 2023 (2014) (citations and quotations omitted); see White v.

Pauly, 137 S. Ct. at 552.

       As demonstrated below, plaintiff has failed to establish a violation of any of his

rights under the First or Fourth Amendments. Accordingly, defendant Spaniola is

entitled to qualified immunity on each of the federal claims.

       The Court also notes, with respect to Prosecutor Spaniola’s issuance of a press

release, that the Supreme Court has held that no violation of the “right to privacy”

under the First and Fourth Amendments occurs with the publication of an

individual’s arrest. Paul v. Davis, 424 U.S. 693, 712-13 (1976). Similarly, in Bailey

v. City of Port Huron, the Sixth Circuit affirmed summary judgment in favor of the

city on a Section 1983 claim regarding the publication of information relating to

criminal charges. 507 F.3d 364 (6th Cir. 2007). The Sixth Circuit noted: “As a matter

of federal constitutional law, a criminal suspect does not have a right to keep her mug

shot and the information contained in a police report outside of the public domain –

and least of all from legitimate requests for information from the press.” Id. at 368.

       Accordingly, even if he is not entitled to absolute immunity regarding the

issuance of the press release, Prosecutor Spaniola is entitled to qualified immunity

on plaintiff’s federal claims.

       C.     Mr. Spaniola Enjoys Absolute Immunity Against Plaintiff’s State
              Claims.

       Inasmuch as the Court has determined that all of Mr. Spaniola’s conduct

relating to plaintiff’s claims fell within his role as prosecutor, he is entitled to absolute

immunity as against plaintiff’s state-law claims. Under Michigan statutory law, “the
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elective or highest appointed executive official of all levels of government [is] immune

from tort liability for injuries to persons . . . if he or she is acting within the scope of

his or her . . . executive authority.” MICH. COMP. LAWS § 691.1407(5). Mr. Spaniola,

appointed to serve as the Manistee County Prosecutor for the Garber case, falls

within the ambit of this immunity provision. Cf. Bischoff v. Calhoun Cty. Prosecutor,

173 Mich. App. 802, 806 (1988) (“We hold defendant to be immune from liability under

[§ 691.1407(5)] of the governmental immunity statute. Defendant prosecutor is the

chief law enforcement officer of the county.” (citing Genesee Prosecutor v. Genesee

Circuit Judge, 386 Mich. 672, 683 (1972)).

         All of plaintiff’s state-law claims (Counts IV through VII) sound in tort.

Accordingly, Prosecutor Spaniola is entitled to absolute immunity as to these claims.

II.      The City of Manistee is Entitled to Summary Judgment.

         The City of Manistee argues that it is entitled to summary judgment because

plaintiff has failed to show a policy or custom upon which to base a Section 1983

claim, and that the city is immune from state tort liability. Before addressing these

arguments, the Court notes that the only reference in plaintiff’s complaint to the City

of Manistee is found in the caption and in the section identifying the parties. See

Complaint ¶ 3, ECF No. 1, PageID.2).14 A complaint that merely names a defendant

without alleging specific conduct by that defendant is subject to summary dismissal.




 In his proposed amended complaint, plaintiff merely adds a cryptic reference in
14

Count VII that the city “concurred” in the actions of defendants. (Proposed First
Amended Complaint ¶ 82, ECF No. 35, PageID.284).
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See Potter v. Clark, 497 F.2d 1206, 1207 (7th Cir. 1994); Cameron v. Howes, No. 1:10-

cv-539, 2010 WL 3885271, at *6 (W.D. Mich. Sept. 28, 2010) (collecting cases).

         A.    Plaintiff has failed to establish municipal liability for his federal claims.

         To prevail on a Section 1983 claim against the City of Manistee, plaintiff must

demonstrate that the alleged violations of his federal rights were caused by a

municipal policy or custom. See Monell v. Dep’t of Soc. Servs. of City of New York,

436 U.S. 658, 694 (1978); Thomas v. City of Chattanooga, 398 F.3d 426, 429 (6th Cir.

2005). The plaintiff must “ ‘(1) identify the municipal policy or custom, (2) connect

the policy to the municipality, and (3) show that his particular injury was incurred

due to execution of that policy.’ ” Vereecke v. Huron Valley Sch. Dist., 609 F.3d 392,

403 (6th Cir. 2010) (quoting Turner v. City of Taylor, 412 F.3d 629, 639 (6th Cir.

2005)); see also Garner v. Memphis Police Dep’t, 8 F.3d 358, 364 (6th Cir. 1993).

         Neither plaintiff’s pending complaint nor his proposed amended complaint

contain any reference to a city policy or custom.15 In fact, there is no reference at all

to the City of Manistee within the Section 1983 claims. As plaintiff’s complaint fails

to state a claim under Section 1983 against the City of Manistee, those claims will be

dismissed as against the city.




15Plaintiff’s arguments concerning Monell liability in his response to the motion for
summary judgment (see Pltf Br. at 27-28, ECF No. 57, PageID.1458-59), are not a
substitute for allegations in a complaint. See Pleming v. Universal-Rundle Corp., 142
F.3d 1354, 1358 (11th Cir. 1998); see also Taylor v. Jewish Hosp., No. 3:13-cv-361,
2013 WL 5888276, at *2 (W.D. Ky. Oct. 31, 2013) (“Although it is true that the
plaintiff is the master of the claim, the plaintiff must exercise his mastery in the
complaint itself, not via statements made for the first time in his briefs.”) (citation
and quotation omitted).
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       B.     The City is protected by government immunity against state tort claims.

       Under Michigan’s Governmental Tort Liability Act, the City of Manistee is

immune from state tort liability. That statute provides, with certain exceptions

inapplicable here, that “a government agency is immune from tort liability if the

governmental agency is engaged in the exercise or discharge of a government

function.” MICH. COMP. LAWS § 691.1407(1). The City of Manistee is a government

agency for purposes of the tort immunity statute.              See MICH. COMP. LAWS

§ 691.1401(1)(d), (e).

       Plaintiff offers no argument in his response to the pending motion to suggest

that the city is not entitled to the state’s tort immunity. The state tort claims against

the city will be dismissed.

III.   The Individual City Defendants Are Entitled to Summary Judgment.

       A.     Plaintiff Fails to State a Claim Under 42 U.S.C. § 1985.

       In Count I of the complaint, plaintiff claims that the five individual defendants

conspired to violate his First Amendment right “to run for public office,” in

contravention of 42 U.S.C. § 1985. (Complaint ¶ 38, ECF No. 1, PageID.7). Plaintiff

cites subsection (2) of section 1985 as the basis for this cause of action. (See id.). But,

that subsection addresses conspiracies to obstruct justice, which is plainly inapposite

to plaintiff’s allegation that the defendants interfered with his election. Plaintiff now

asserts that the citation to subsection (2) is a typographical error, and that he

intended to cite subsection (3). (Pltf Resp. at 7, ECF No. 57, PageID.1438). The Court

will give plaintiff the benefit of the doubt and treat the complaint as if it were

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amended to cite 42 U.S.C. §1985(3). Unfortunately for plaintiff, that concession will

do him no good.

      Subsection (3) of section 1985 provides a cause of action against those who

conspire to deprive individuals of their equal protection rights.       As such, it is

necessary to allege and prove that the defendants’ conduct in question was motivated

by plaintiff’s membership in a constitutionally-protected class – for example, his race.

See Bartell v. Lohiser, 215 F.3d 550, 559 (6th Cir. 2000) (A Section 1985(3) claim

requires proof of “some racial, or perhaps otherwise class-based, invidiously

discriminatory animus.” (citing United Bhd. of Carpenters and Joiners of Am. v. Scott,

463 U.S. 825, 829 (1983)); see also Estate of Smithers ex rel. Norris v. City of Flint,

602 F.3d 758, 765 (6th Cir. 2010) (“To sustain a claim under section 1985(3), a

claimant must prove both membership in a protected class and discrimination on

account of it.” (citing Bartell, 215 F.3d at 559)). The Supreme Court noted that “[t]he

civil conspiracy prohibition contained in § 1985(3) was enacted as a significant part

of the civil rights legislation passed in the aftermath of the Civil War.” Ziglar v.

Abbasi, 137 S. Ct. 1843, 1865 (2017) (citations omitted).

      None of the allegations in the complaint (or the proposed amended complaint)

so much as suggests that plaintiff was a member of a constitutionally-protected class;

nor is there any assertion that the defendants were motivated by any class-based

discriminatory animas. As such, plaintiff fails to state an equal protection claim.

Count I will be dismissed.




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      B.     Plaintiff Fails to State a First Amendment Claim.

      In Count II, plaintiff raises a claim, pursuant to 42 U.S.C. § 1983, that the

individual defendants violated his “right to be a candidate for public office” by

delaying the issuance of the arrest warrant on the misdemeanor embezzlement

charge to shortly before the election. (Complaint ¶¶ 45, 47, ECF No. 1, PageID.9).

Plaintiff asserts that, under the First Amendment, “[he] had a lawful right to run for

a position on the City Council.” (Id. at ¶ 48).

      Section 1983 imposes civil liability on a person acting under color of state law

who deprives another of “any rights, privileges, or immunities secured by the

Constitution and laws.” 42 U.S.C. § 1983. “By its terms . . . the statute creates no

substantive rights; it merely provides remedies for deprivations of rights established

elsewhere.” Oklahoma City v Tuttle, 471 U.S. 808, 816 (1985). A Section 1983 claim

has two basic requirements: (1) state action, and (2) a deprivation of a federal

statutory or constitutional right. Flint v. Kentucky Dep’t of Corr., 270 F.3d 340, 351

(6th Cir. 2001) (citing Bloch v. Ribar, 156 F.3d 673, 677 (6th Cir. 1998) and United of

Omaha Life Ins. Co. v. Solomon, 960 F.2d 31, 33 (6th Cir. 1992)).

      Accordingly, in order to have a viable cause of action under Section 1983,

plaintiff must demonstrate that the defendants deprived him of a cognizable right

under the First Amendment. Plaintiff argues that he had a First Amendment right

to run for elected office without interference. The Court must disagree.

      In Bullock v. Carter, the Supreme Court considered a challenge to the

constitutionality of a Texas primary election filing fee. 405 U.S. 134 (1972). The


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Court held that, because the state failed to establish the requisite justification, the

filing fee constituted a denial of equal protection of the laws. Id. at 149. The Bullock

decision does not specifically address the issue before this Court. But, in addressing

the “threshold question” of the appropriate standard of review, the Supreme Court

noted that candidacy for public office is not a fundamental constitutional right to

which a rigorous standard of review would apply. Id. at 142-43; see also Clements v.

Fashing, 457 U.S. 957, 963 (1982) (“Far from recognizing candidacy as a ‘fundamental

right,’ we have held that the existence of barriers to a candidate’s access to the ballot

‘does not of itself compel close scrutiny.’ ” (citing Bullock v. Carter, 405 U.S. at 143)).

       The Sixth Circuit, relying in part on the Bullock decision, held that there is no

protected right to candidacy under the First Amendment. Carver v. Dennis, 104 F.3d

847, 850-51 (6th Cir. 1997) (citing Bullock v. Carter, 405 U.S. at 143). In subsequent

cases, the Sixth Circuit has reaffirmed this holding. See Molina-Crespo v. United

States Merit Sys. Prot. Bd., 547 F.3d 651, 656 (6th Cir. 2008) (“[B]oth this Court and

the Supreme Court have held that ‘there is no protected right to candidacy under the

First Amendment[.]’ ” (quoting Murphy v. Cockrell, 505 F.3d 446, 450 (6th Cir. 2007)).

Because there is no First Amendment right to be a candidate for public office, plaintiff

has no viable cause of action under Section 1983 on that basis.

       During oral argument, plaintiff’s counsel acknowledged the adverse holdings

described above, and he conceded that he could find no legal authority to support the

proposition that the First Amendment protects candidacy for public office. Instead,

counsel asserted that plaintiff had a First Amendment right to run for election free

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of interference from defendants’ actions.      This appears, at first blush, to be an

argument based on semantics – a distinction without a difference.

      To the extent plaintiff is claiming that the defendants’ actions were intended

simply to interfere with his candidacy to prevent his election, as opposed to punishing

him for the contents of his election-related statements, there is no significant

distinction. See Greenwell v. Parsley, 541 F.3d 401, 404 (6th Cir. 2008) (“While the

First Amendment protects the right of public employees to speak out on matters of

public concern, it has not been extended to candidacy alone.” (citing Carver v. Dennis,

104 F.3d at 849, and Connick v. Myers, 461 U.S. 138, 146 (1983)). Any putative

constitutional right to candidacy would necessarily include the right to be free from

undue interference with that candidacy, and vice versa. The Court has been unable

to find any legal authority for the proposition that the First Amendment – or any

other constitutional provision – creates a right to an interference-free election. The

Court declines plaintiff’s invitation to recognize such a right as a matter of first

impression.

      Giving plaintiff the benefit of the doubt, however, the Court recognizes that

the First Amendment may be implicated if a state actor takes action to punish a

candidate due to the contents of the candidate’s campaign statements. In Murphy v.

Cockrell, the Sixth Circuit held that the content of a public employee’s campaign

speech is protected by the First Amendment. 505 F.3d at 452. The Sixth Circuit has

recognized that “cases involving political speech by public employees proceed on a

continuum” and that “drawing a clear line between the simple announcement of a

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candidacy, which does not trigger protected political speech, and an announcement

coupled with speech critical of one’s opponent (and boss), which does trigger

constitutional protection, is not an easy task.” Greenwell v. Parsley, 541 F.3d 401,

404 (6th Cir. 2008).

      That problem does not arise in this case, however. Nowhere in his complaint

does plaintiff allege that he was discriminated against on the basis of the content of

his campaign speech. In fact, plaintiff’s complaint tells the Court nothing about his

campaign rhetoric, much less, does he allege that any of the defendants took issue

with it.   Accordingly, Count II fails to state a cognizable claim, and it will be

dismissed.

      Moreover, plaintiff has offered nothing but speculation to establish that the

defendants’ alleged conduct was the actual (“but-for”) cause of his election loss, which

is a necessary element of a Section 1983 claim. See Powers v. Hamilton Cty. Pub. Def.

Comm’n, 501 F.3d 592, 608 (6th Cir. 2007). Plaintiff states that he lost the election

by about fifteen votes to the successful candidate, and that the obtained

approximately thirty more votes than the third-place candidate. (Garber Dep. at 59,

ECF No. 43-7, PageID.539). Plaintiff also acknowledges that no voter indicated that

his or her decision was affected by the filing of criminal charges; in fact, plaintiff

conceded that no one had mentioned the criminal charges at all. (Id. at 59-60).

Plaintiff has nothing but the timing of the criminal charges, which predated the

election, to support his claim that the filing of the criminal charges caused him to lose

the election. (Id. at 58-60). As plaintiff has conceded, whether he would have won

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the election had the timing of the criminal charges been different is a matter of

speculation. (Id. at 60). “[C]onclusory allegations, speculation, and unsubstantiated

assertions are not evidence, and are not sufficient to defeat a well-supported motion

for summary judgment.” Jones v. City of Franklin, 677 F. App’x 279, 282 (6th Cir.

2017).

         C.    Plaintiff’s Fourth-Amendment Claim Fails as a Matter of Law.

         In Count III, plaintiff claims that defendants Deisch, Bachman, Bradford and

Mikula conspired to institute a criminal investigation against him, without probable

cause, “which they knew, or should have known was not based upon fact or evidence

that Plaintiff had embezzled city funds.” (Complaint ¶ 53, ECF No. 1, PageID.11).

Plaintiff also contends that the defendants (presumably to include defendant

Spaniola) violated his Fourth Amendment rights “when they threatened Plaintiff

with a dismissal of the misdemeanor charge and the institution of felony charges,

using the same evidence, . . . if he refused to plead guilty to the misdemeanor charge.”

(Id. at ¶ 58, PageID.12).

         As plaintiff concedes, his claim under Count III fails as a matter of law if the

misdemeanor warrant for embezzlement was supported by probable cause. (Pltf Br.

at 11, ECF No. 57, PageID.1442 (citing Voyticky v. Village of Timberlake, Ohio, 412

F.3d 669 (6th Cir. 2005)). In Voyticky, the Sixth Circuit noted that, “[i]n order to

prove malicious prosecution under federal law, a plaintiff must show, at a minimum,

that there is no probable cause to justify an arrest or a prosecution.” 412 F.3d at 675

(citing Thacker v. City of Columbus, 328 F.3d 244, 259 (6th Cir. 2003)).


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             1.     There was probable cause to support the charge against plaintiff.

      In this case, there was probable for the misdemeanor embezzlement charge

under MICH. COMP. LAWS § 750.174(3). Under Michigan law, the elements of that

offense, as applied to the underlying criminal case, are the following: (1) the money

in question must have belonged to the City of Manistee; (2) plaintiff (Mr. Garber)

must have had a relationship of trust with the city as its agent or employee; (3) the

money must have come into plaintiff’s possession because of the relationship of trust;

(4) plaintiff dishonestly disposed of, or converted the money to his own use, or secreted

the money; (5) the act must have been without the consent of the city; and (6) at the

time of conversion, plaintiff intended to defraud or cheat the principal. People v.

Lueth, 253 Mich. App. 670, 683-84 (2002) (citing People v. Collins, 239 Mich. App.

125, 131 (1999) and People v. Wood, 182 Mich. App. 50, 53 (1990)). The first three

elements are not disputed.

      The fourth and fifth elements are plainly established by the undisputed facts

that plaintiff deposited at least two checks representing the city’s scrap metal

proceeds into his personal bank account, taking the cash into his possession, and that

there was no record that any of these funds were ever turned over to the city. (See

Prelim. Tr. at 170-72, ECF No. 47-4, PageID.1175-77). As District Judge Brunner

concluded:

      The question becomes was there an unlawful knowing and unlawful
      appropriation of this money to his own use? In this case, the money was
      taken to – the checks were taken to the Filer Credit Union, they were
      cashed, and Mr. Garber received the cash from the bank. The two checks
      in question show that as having happened. The exhibit six shows the
      checks being cashed and the cash back, being provided to Mr. Garber.
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      So that’s what we have at this juncture of a probable cause hearing. We
      have City property, the scrap metal proceeds, having been check cashed,
      turned into cash, and the cash is in the pocket of Mr. Garber.

(Id. at 172, PageID.1177). City Treasurer Bradford testified that, prior to 2012, he

had twice discussed with plaintiff the sales of the city’s scrap metal, and that he had

instructed plaintiff that “any checks for scrap needed to come back to City Hall and

they needed to come straight to there,” and that “all money needs to come through

City Hall.” (Id. at 31, PageID.1035). Plaintiff concedes this point. (See Garber Dep.

at 74-75, ECF No. 47-2, PageID.928).

      The only serious dispute concerns the final element:          whether plaintiff

intended to defraud or cheat the principal. This was the issue of concern for Circuit

Judge Batzer. (See Mtn Tr. at 22, ECF No. 57-6, PageID.1585-86). The Sixth Circuit

Pattern Jury instruction on Inferring Required Mental State is instructive here. It

provides, in pertinent part:

      Ordinarily, there is no way that a defendant’s state of mind can be
      proved directly, because no one can read another person’s mind and tell
      what that person is thinking.

      But a defendant’s state of mind can be proved indirectly from the
      surrounding circumstances.      This includes things like what the
      defendant said, what the defendant did, how the defendant acted, and
      any other facts or circumstances in evidence that show what was in the
      defendant’s mind.

      You may also consider the natural and probable results of any acts that
      the defendant knowingly did or did not do, and whether it is reasonable
      to conclude that the defendant intended those results.

SIXTH CIRCUIT PATTERN CRIM. JURY INSTR. 2.08 (2017).




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      The intent to defraud the city can be inferred by plaintiff’s continued practice

– despite the City Treasurer’s admonition to the contrary – of depositing city checks

into his personal bank account, taking the cash, and spending it without the approval

of city officials. Padnos records showed fifteen scrap metal sales involving plaintiff

between November 2006 and July 2012. In twelve of these transactions, checks were

issued payable to plaintiff; in three others, plaintiff was paid in cash. All twelve

checks were endorsed by plaintiff and either cashed or deposited into his personal

bank account. Plaintiff endorsed and deposited into his personal account two other

checks that had been made payable to another Department of Public Works employee.

According to the City Treasurer, none of these proceeds, totaling $9,357.83, were ever

turned over to the city.

      During the same time period, Padnos issued checks to other city employees on

eight occasions. The records reflect that the proceeds from each of these scrap metal

sales were deposited into the city’s bank account. Detective Miller learned that, when

Edward Cote, the former supervisor of the City Water Department, received scrap

metal proceeds from Padnos, he deposited the funds into the city’s bank account. Mr.

Cote also submitted a letter, dated June 18, 2007, to the City Treasurer seeking

permission to use scrap metal proceeds to purchase items for his department.

      Plaintiff appears to be the only city employee who failed to turn scrap-metal

proceeds over to the city. Moreover, in a discussion with Police Chief Bachman,

plaintiff made statements concerning his handling of the Padnos checks, which have

been contradicted by the Padnos and bank records: “[Plaintiff] told him that he has

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never signed or endorsed a check for the City . . . . [Plaintiff] also told Chief Bachman

that any checks he has received he has turned over to . . . the Treasurer’s Office and

he has no idea what happened to them after that.” (Miller Report at 9, ECF No. 43-

2, PageID.386). Plaintiff also told Chief Bachman, at one point, that he paid for the

employee Christmas parties with his own money. (Id. at 44, PageID.421). False

exculpatory statements may be considered in determining whether they constitute

consciousness of guilt. See, e.g., Stanley v. United States, 245 F.2d 427, 433 (6th Cir.

1957).

         Even if this Court is to assume that Chief Bachman’s accounts of plaintiff’s

statements are inaccurate, the fact remains that this information was contained in

Detective Miller’s report. Prosecutor Spaniola relied upon the information in that

report in making his charging decision.

         In April 2013, two individuals who are nonparties to this case separately found

probable cause of criminal activity relating to plaintiff’s bank account. This included

the Manistee County Chief Assistant Prosecutor, who reviewed and approved the

affidavit supporting the search warrant for those records, and District Judge

Brunner, who authorized the search warrant based on the same affidavit. (See Miller

Report at 36, ECF No. 43-2, PageID.413). Judge Brunner later specifically found

probable cause that plaintiff committed the crime of embezzlement following a

May 7, 2014, preliminary hearing.

         Plaintiff contests the finding of probable cause on two pieces of evidence: the

city defendants’ concession that “there was not a written policy relating to the

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collection of scrap, the sale of scrap and how the money was to be used,” and that City

Manager Deisch told Detective Miller that, “as of April 2013, the policy of selling

scrap metal and using for social events at the [Department of Public Works] was a

permissible use of the city funds.” (Pltf Br. at 12-13, ECF No. 57, PageID.1443-44).

Plaintiff cites to this evidence, of course, because he believes it tends to support his

claim that he used the cash he obtained from the city’s scrap metal checks to pay for

employee social events.

      Plaintiff misses the point. There is no requirement that an employer have a

specific policy about how money is to be used for a viable embezzlement charge. All

that is required is that the employee converted the employer’s funds without

permission with the intent to defraud. See People v. Lueth, 253 Mich. App. at 683-84.

Moreover, plaintiff reads too much into Mr. Deisch’s statements to Detective Miller.

Mr. Deisch simply noted that, “to his knowledge some City money was still being

utilized to pay for at least some of the costs for the employee picnic and Christmas

parties.”   (Miller Report at 7-8, ECF No. 43-2, PageID.384-85).          Mr. Deisch’s

statements do not confirm plaintiff’s contention that the money he took from the city’s

scrap metal sales was actually used for employee functions.

      Moreover, the very employees plaintiff contended would corroborate his claim

of using the scrap metal proceeds for “retirements, cookouts, Christmas parties and

buying some tools” (Pltf’s Letter to Chief Bachman, March 29, 2013 (contents in

Miller Report at 11, ECF No. 43-2, PageID.388)) contradicted, for the most part, his

defense. Plaintiff complains about the fact that Prosecutor Spaniola delayed issuance

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of the misdemeanor warrant pending the interview of three additional witnesses,

asserting it was “needless.” (Complaint ¶ 49, ECF No. 1, PageID.10; Proposed First

Amended Complaint ¶ 49, ECF No. 35, PageID.273). But, Mr. Spaniola directed that

those additional witnesses (Messieurs Bifoss, Picardat, and Oleniczak) be questioned

because plaintiff had identified them as individuals who would corroborate his

contentions that he properly handled the city’s scrap metal proceeds, and that he used

the funds for employee functions. (See Miller Report at 11, 39; PageID.388, 416).

They did neither.

       Mr. Bifoss advised Detective Miller that, while he recalled “that some City

money could have been used [for employee parties and picnics] . . . he [did] not recall

anything specific.” (Id. at 40, PageID.417). Mr. Bifoss also stated, however, that

“clearly, any proceeds coming into the City from any source would need to go directly

to the City.” (Id.). Mr. Picardat stated that he was unaware of any scrap metal

proceeds being used to fund employee parties or picnics, or to purchase tools. (Id.).

He advised that, while he had not been specifically told to submit all sales proceeds

to city hall, he knew to do that, describing it as an ethical issue. (Id.). Mr. Oleniczak

stated that, during his time with the city, scrap metal was sold to a local scrap dealer,

and that the dealer made the payments directly to the city. (Id. at 41, PageID.418).

He advised that, to the best of his knowledge, no city money was used to fund parties

or picnics. (Id.).

       Rather than corroborate his defense, these witness statements provide

additional evidence to establish probable cause that plaintiff had converted the city’s

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scrap metal proceeds to his personal use. Those statements, coupled with plaintiff’s

intentional disregard of the City Treasurer’s directive to submit all city funds through

City Hall and his false statements concerning his handling of scrap metal proceeds,

is sufficient to establish probable cause that plaintiff intended to defraud the city of

at least some of its funds.

      The probable cause standard is not particularly onerous, although it is not

without some teeth. “ ‘Probable cause is defined as reasonable grounds for belief,

supported by less than prima facie proof but more than mere suspicion.’ ” United

States v. McClain, 444 F.3d 556, 562 (6th Cir. 2005) (quoting United States v.

Ferguson, 8 F.3d 385, 392 (6th Cir. 1993) (en banc)). This is a “flexible, common-sense

standard.”    Texas v. Brown, 460 U.S. 730, 742 (1983).       “[T]he establishment of

probable cause ‘requires only a probability or substantial chance of criminal activity,

not an actual showing of such activity.’ ” United States v. McClain, 444 F.3d at 562

(quoting Illinois v. Gates, 462 U.S. 213, 243 n.13 (1983)).       “The totality of the

circumstances are examined to determine whether the officers had sufficient

knowledge for a prudent person to believe that the arrested individual committed an

offense.”    Buckner v. Rini, No. 11-13623, 2013 WL 1720831, *3 (E.D. Mich.

Apr. 22, 2013) (citing Sykes v. Anderson, 625 F.3d 294, 306 (6th Cir. 2010)).

      The evidence outlined in Detective Miller’s report – the accuracy of which

plaintiff has conceded – is sufficient to establish probable cause that plaintiff

embezzled the City of Manistee’s scrap metal proceeds. The lack of a written policy

concerning scrap metal sales and the evidence that such funds had, in the past, been

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used for employee functions, may well raise reasonable doubt, but this evidence does

not defeat probable cause.

             2.     The individual City Defendants are protected by qualified
                    immunity.

      Like Prosecutor Spaniola, the individual city defendants are entitled to

qualified immunity regarding plaintiff’s federal claims (see discussion, supra,

regarding the standards for qualified immunity). In order to defeat defendants’

assertion of qualified immunity, plaintiff must show both that defendants violated

one of his constitutional rights and that the right was “clearly established” at the

time of defendants’ alleged misconduct. See Saucier v. Katz, 533 U.S. at 201. The

Court has already determined that plaintiff has failed to establish a constitutional

violation.

      Even if there had been a constitutional violation, however, defendants would

still be entitled to qualified immunity, as plaintiff has failed to demonstrate that any

such right was “clearly established” during the relevant time period.          Plaintiff

concedes that he could find no case law – or other legal authority – for the proposition

that he had a First Amendment right to run for office interference free. Instead, he

invites this Court to recognize this right as a matter of first impression. Even if the

Court were to accept that invitation, the fact that plaintiff acknowledges that this is

a matter of first impression demonstrates that it was not established – much less

clearly established – in 2013, when the events leading to this lawsuit occurred.

      Plaintiff also fails to establish that the conduct underlying his Fourth

Amendment claim was such as to place beyond debate its constitutional infringement.
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The Fourth Amendment claim under Section 1983 cannot stand if there was probable

cause to support plaintiff’s arrest and prosecution for embezzlement. As noted above,

District Judge Brunner twice found probable cause linking plaintiff to the crime of

embezzlement – the first time to authorize the seizure and search of plaintiff’s bank

records; the second, to bind him over on three felony charges relating to the alleged

embezzlement. No one has suggested that Judge Brunner was biased or otherwise

lacking in prudence.

      Instead, plaintiff points to the fact that Circuit Court Judge Batzer granted

plaintiff’s motion to quash Judge Brunner’s bindover. But the fact that two impartial

judges disagree on the import of the evidence demonstrates that the issue of whether

there was probable cause to support the embezzlement charge is very much subject

to reasonable debate. Cf. Hunter v. Bryant, 502 U.S. 224, 227 (1991) (“Even law

enforcement officials who ‘reasonably but mistakenly conclude that probable cause is

present’ are entitled to immunity.” (quoting Anderson v. Creighton, 483 U.S. 635, 641

(1987)).

      D.     The Individual City Defendants are Protected by Government Immunity
             on Plaintiff’s State Law Tort Claims.

      The individual city defendants are entitled to government immunity on

plaintiff’s state law tort claims (Counts IV through VII). Michigan law provides the

elective or highest appointed executive official immunity from tort liability for actions

taken within the scope of his or her official authority.           MICH. COMP. LAWS

§ 691.1407(5).   To overcome this immunity, plaintiff must establish either that

defendants’ actions fell within a statutory exception or that defendants’ actions
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occurred outside the exercise of a government function. Genesee Cty. Drain Comm’r

v. Genesee Cty., 309 Mich. App. 317, 326-27 (2015). When considering the latter,

courts are to examine the “general activity involved rather than the specific conduct

engaged in when the alleged injury occurred.”        Id. at 328. (citations omitted)

(emphasis in Genesee Cty.). The statute does not contain an exception for intentional

torts. Id. at 328.

        City Manager Deisch is the highest appointed official in the City of Manistee.

(See Manistee City Charter §§ 2-14, 5-1, 5-3, 13-10; ECF No. 43-16, PageID.843-44,

846).   Public Safety Director (Police Chief) Bachman is the highest appointed

executive official in the Manistee Police Department. See Petipren v. Jaskowski, 494

Mich. 190, 215-16 (2013). There is no applicable statutory exception to defendants’

assertion of immunity. Moreover, defendant Deisch and Bachman’s involvement in

the matters underlying plaintiff’s claims were each plainly within the scope of the

“general activity” of their respective positions. Accordingly, they are immune from

plaintiff’s state law tort claims.

        The other two individual city defendants – Utilities Director Mikula and City

Treasurer Bradford – enjoy qualified immunity from intentional tort liability under

Michigan common law. See Odom v. Wayne Cty., 482 Mich. 459, 461 (2008). These

public employees are entitled to qualified immunity, provided: (1) their challenged

actions were taken during the course of their employment and that they were acting,

or reasonably believed they were acting, within the scope of their authority; (2) the

actions were taken in good faith; and (3) their actions were discretionary in nature.

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Id. at 473-76.     Defendants bear the burden of establishing their entitlement to

qualified immunity. Id. at 476-79. 16

         In Count IV, plaintiff claims that “[t]he individual Defendants” conspired to

have him falsely arrested to ruin his reputation and to prevent him from being elected

to public office. (Complaint ¶¶ 62-63, ECF No. 1, PageID.13; Proposed First Amended

Complaint ¶¶ 62-63, ECF No. 35, PageID.277-78). Plaintiff does not identify which

defendants allegedly participated in the conspiracy in either the pending complaint

or the proposed amended complaint – the Court will assume he intended to name all

the individual defendants in this count.17

         In Count VI, plaintiff alleges that defendants submitted information to

Detective Miller, through Sergeant Riley, that they “knew or should have known

. . . was false,” and that defendants Bradford and Mikula “repeated the false

allegations” during their respective interviews with the detective. (Proposed First




16While plaintiff challenges defendants’ assertion of state statutory immunity, he
does not address their assertion of common law qualified immunity. (See Pltf Br. at
25-27, ECF No. 57, PageID.1456-58). Accordingly, he has arguably waived this issue.
See Berryman v. Sampson, No. 10-12169, 2012 WL 1570839, at *1 (E.D. Mich.
May 3, 2012) (“[F]ailure to address an issue constitutes a waiver or abandonment of
the argument.”) (citing Sault St. Marie Tribe of Chippewa Indians v. Engler, 146 F.3d
367, 374 (6th Cir. 1998)).
17 Plaintiff does not include either Mr. Bradford or Mr. Mikula in Count V.

Accordingly, the Court need not address qualified immunity with respect to that
count.
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Amended Complaint ¶¶ 74-75, ECF No. 35, PageID.282).18 Plaintiff does not identify

what information defendants provided that was false.

         In Count VII, plaintiff alleges that the conduct of the defendants – presumably

all of them – “constitute[d] extreme and outrageous conduct which is not sanctioned

or condoned by society.” (Complaint ¶ 80, ECF No. 1, PageID.19; Proposed First

Amended Complaint ¶ 80, ECF No. 35, PageID.284). Plaintiff does not specify the

conduct he alleges was extreme and outrageous, except in paragraph 83 to make

reference to paragraphs 9 through 33 of the complaint, which recount plaintiff’s

allegations relating to the investigation and prosecution for embezzlement.

         There is no genuine dispute as to the facts that defendants Bradford and

Mikula’s actions with respect to the claims in Counts IV, VI and VII, were taken

during the course of their employment, that they reasonably believed they were

acting within the scope of their authority, and that their actions were discretionary.

The only potential issue is whether their actions were taken in good faith. The

Michigan Supreme Court counsels that good faith is “acting without malice,” and

described the absence of good faith to include “ ‘malicious, corrupt, and otherwise

outrageous conduct.’ ” Odom v. Wayne Cty., 482 Mich. at 474 (quoting Prosser, TORTS

(4th ed.), § 132, p. 989)).




18The pending complaint includes similar allegations, but it does not specifically
name defendants Bradford and Mikula. (See Complaint ¶¶ 74-75, ECF No. 1,
PageID.17).
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      According to Detective Miller’s report – the accuracy of which plaintiff has

conceded – there is no evidence that defendants Bradford or Mikula provided any

false information during the investigation; nor is there any evidence that they acted

with malice. Utilities Director Mikula’s involvement in this matter began when

“several” city workers shared with him their suspicion that scrap-metal proceeds

were being misused; although they were unable to provide specific information. Mr.

Mikula discovered a Padnos check payable to plaintiff in the Department of Public

Works safe. He then made City Treasurer Bradford aware of his discovery. (Miller

Report at 5, ECF No. 43-2, PageID.382).

      Mr. Bradford conducted a review of city records, and he obtained records from

Padnos. He later provided the documents and information he obtained to Detective

Miller. (Id.). Detective Miller interviewed Mr. Bradford on April 2, 2013. Mr.

Bradford reviewed the documents and information he had provided. He advised the

detective that no city employee had been authorized to use city funds for personal

use, and that he had previously told plaintiff that scrap-metal proceeds were to be

deposited in the city’s bank account.     (Id. at 8, PageID.385).   Plaintiff has not

challenged the accuracy of the documents and information Mr. Bradford provided

Detective Miller. To the contrary, plaintiff has confirmed Mr. Bradford’s statement

concerning his instruction regarding the handling of the scrap metal proceeds. (See

Garber Dep. at 74-75, ECF No. 47-2, PageID.928).

      Detective Miller interviewed Mr. Mikula on April 3, 2013. Mr. Mikula largely

repeated information he had already provided, as note above. The most controversial

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statement Mr. Mikula made concerned his belief that plaintiff “ruled his department

with fear and intimidation,” which in his opinion could have impeded the detective

from getting candid statements from the employees.              (Miller Report at 10,

PageID.387). Mr. Mikula also suggested that “some of the other employees may have

been benefitting personally from the City scrap metal sales.” (Id.).

      Messieurs Mikula and Bradford each testified during the May 7, 2014,

preliminary hearing, which resulted in District Judge Brunner’s finding of probable

cause. (Prelim. Tr. at 5-18, 19-61; ECF No. 47-4; PageID.1009-66). Plaintiff has not

challenged the veracity of their testimony.

      Plaintiff can cite to no evidence that, during their interviews with Detective

Miller or their testimony before Judge Brunner, either Mr. Bradford or Mr. Mikula

engaged in conduct that was malicious, corrupt or outrageous. To be sure, there is

no evidence that either defendant made any false statement at all. Plaintiff’s claims

appear to be predicated on his belief that the defendants, including Mr. Bradford and

Mr. Mikula, promoted the investigation and his prosecution for embezzlement,

without probable cause, to cause him harm – the loss of his election to the city council.

      Plaintiff’s intentional tort claims necessarily depend, then, on a finding that

defendants knew there was no probable cause to charge plaintiff with embezzlement,

or at least that they should have known it. But District Judge Brunner, a fair and

impartial jurist, found that there was probable cause to charge plaintiff with that

crime. It was reasonable, then, for defendants Bradford and Mikula to have believed

there was probable cause. The Michigan Supreme Court noted with approval a

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Michigan Court of Appeals decision that a “police officer is entitled to immunity when

he is ‘acting in good faith with probable cause . . . even though the arrest is

subsequently found to be baseless.’ ” Odom v. Wayne Cty., 482 Mich. at 474 (quoting

Blackman v. Cooper, 89 Mich. App. 639, 643 (1979)). There is certainly no basis to

hold city officials to a higher standard than a police officer, who receives substantial

training relating to the standards for probable cause.

      Given the undisputed facts concerning Mr. Bradford and Mr. Mikula’s limited

role in the investigation and prosecution of plaintiff, and in light of the Michigan

Supreme Court’s Odom opinion, the defendants have met their burden of establishing

their entitlement to qualified immunity. Plaintiff has failed to present evidence

sufficient to raise a triable issue of fact concerning that question.      Accordingly,

defendants are entitled to entry of judgment in their favor on all plaintiff’s state law

tort claims.

                                     Conclusion

      For the reasons stated herein the defendants’ motions for summary judgment

(ECF No. 42, 46) will be granted. Plaintiff’s motion to amend the complaint (ECF No.

35) will be denied. A judgment consistent with this Opinion will enter.


Date: March 27, 2018                           /s/Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge




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